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                             State of Florida

                                      vs.

                               United States



                              Deposition of:

     C/R: Department of Homeland Security (Robert Guadian)



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    1         Q.     Is it an immigration judge or --
    2         A.     No.
    3         Q.     -- a magistrate?
    4         A.     No, it's a district court judge.
    5         Q.     All right. Thank you for that clarification.
    6         Do you also implement any rules or regulations in
    7   addition to statutes?
    8         A.     Can you -- I don't believe so.       But can you
    9   clarify that question?
  10          Q.     Well, I mean, in your duties at ERO, do you
  11    implement any rules or regulations?
  12          A.     No.
  13          Q.     Do you implement any policies at ERO?
  14          A.     We don't create the policies, but we
  15    operationalize the policies.
  16          Q.     What types of policies do you operationalize?
  17          A.     Let me see, off the top of my head -- I'm
  18    drawing a blank. But, for example, I mean, we have the
  19    parole policy that was issued ten years ago; so we
  20    operationalize that with our field office directors.
  21    But there's -- There's many policies.
  22          Q.     So when you say you operationalize a parole
  23    policy that's been in effect for ten years, what is
  24    that specific policy?
  25          A.     So the parole policy that we have as it


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    1   relates -- as it relates to aliens that have entered
    2   the United States and they're expedited to be removed
    3   and they're turned over to ICE under an expedited
    4   removal, and they're kept in our custody because ERO --
    5   Actually, no ERs are one of the mandatory detention
    6   cases for us; so we keep them detained.
    7         But there is a permissible provision within
    8   that -- within that section of law that allows us to
    9   parole on a case-by-case basis.
  10          And that policy spells out what we should be
  11    looking at in those cases, you know, namely significant
  12    public benefit, humanitarian concerns, risk to the
  13    community, or whether or not they have identity
  14    documents is another one or are they a risk to abscond.
  15          So we do an in-depth review of each one of those
  16    cases that -- where we're exercising our discretion in
  17    terms of that policy, using that policy as a guided
  18    post.
  19          So that's one -- one of the policies that we
  20    operate -- that we're responsible for operationalizing.
  21          Q.     Okay. So when you use the term parole, what
  22    does that mean?
  23          A.     Parole is under -- What I'm referencing is
  24    section 212(d)(5) parole.
  25          Q.     What is the term -- What does parole mean?


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    1         A.     Oh, so --
    2         Q.     -- and it relates?
    3         A.     Yeah, so it's a mechanism that allows the
    4   alien that's been in custody to be released. It's a
    5   discretionary form of release. And it's dependent on
    6   an in-depth case review for all cases.
    7         It allows the alien to be in the community while
    8   they await their asylum hearing or their immigration
    9   hearing depending on why the parole was issued and who
  10    it was issued by.
  11          Q.     You said that policy has been in effect for
  12    ten years; do you know who issued that policy?
  13          A.     I don't recall. I don't recall.
  14          Q.     Okay. And you used the term "expedited
  15    removal"; what is expedited removal?
  16          A.     So expedited removal refers to the authorities
  17    that are granted to ICE and CBP that allow for removal
  18    enter -- removal order to be entered against an alien
  19    that has entered the country illegally if they've met
  20    certain parameters.
  21          Those parameters include being in the country less
  22    than 14 days, being in the -- being within 100 miles of
  23    the -- of the southwest border.
  24          The person can't be a juvenile. There may be some
  25    other considerations as well.


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    1         A.     I don't know. I don't know anything beyond
    2   the ATD component of anything they may be doing.
    3         Q.     And does ERO operate detention facilities?
    4         A.     Yes, we do.
    5         Q.     Okay. Does CBP sometimes transfer noncitizens
    6   to your facilities?
    7         A.     Yes.
    8         Q.     Under what circumstances do they transfer
    9   noncitizens to your detention facilities?
  10          A.     Those aliens that require detention, they
  11    would be transferred to one of our detention locations.
  12          Q.     Let's talk about the first topic, which is
  13    Parole Plus ATD. You've already gotten into that a
  14    little bit.
  15          Can you explain to me the history of ATD; when did
  16    it start becoming a thing?
  17          A.     Sure. Approximately 2002 was when we started
  18    receiving funding for the alternatives to detention
  19    program.
  20          That's been very successful. Over the last five
  21    years, we've -- Congress has allotted additional funds
  22    towards the ATD program.
  23          The program is a success because it -- It
  24    increases or it has a very high appearance rate
  25    within -- with the immigration courts, meaning when we


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    1   place an alien on ATD, the rate of appearance at their
    2   immigration court hearings is very high.
    3         The amount of cases or aliens that are not
    4   successful on ATD is very low.
    5         And we have an overwhelming positive experience
    6   with alternatives to detention, and it's much cheaper
    7   than detention.
    8         It's less than $10 a day to keep someone on ATD
    9   where it's approximately $150 a day in detention.
  10          Q.     And when the program was started in 2002,
  11    which types of noncitizens qualified to be placed in
  12    ATD?
  13          A.     So I don't recall what we were doing in 2002.
  14    I can't say that today. Noncitizens that aren't a
  15    threat a community, they're not public safety risk,
  16    they don't have medical conditions, something that
  17    would prohibit like an ankle bracelet being
  18    administered. They can't be unaccompanied children as
  19    well.
  20          And typically, if they're family units, we -- we
  21    would -- We would place ATD on the head of household in
  22    that instance.
  23          But every case is different. And we look at the
  24    different -- We look at the case as a whole, and then
  25    we make the decision on what type of monitoring would


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    1         A.     I don't know.        But what I can say is that when
    2   we rolled out ATD as an agency back in 2002, we didn't
    3   have a lot of the tools that we have today.
    4         You know, facial recognition was not a thing. It
    5   was not something that was done.
    6         My sense is that we looked at radio frequency
    7   devices in those days. We -- But I don't know the
    8   entire -- all the equipment that we had in regards to
    9   ATD back in 2002.
  10          Q.     Were individuals eligible for ATD back in
  11    2002?
  12          A.     Yes.
  13          Q.     Okay. Was there ever a period of time since
  14    2002 when individual adults were not eligible for ATD?
  15          A.     Could you repeat that question?
  16          Q.     Was there ever a period of time since 2002
  17    when an individual adult was not eligible to use ATD
  18    program?
  19          A.     Yes. So it's -- I can't speak to 2002. But,
  20    you know, just currently, aliens that don't have -- if
  21    they're -- If they're a risk to the community, they
  22    wouldn't be eligible for ATD.
  23          If they are -- If they have medical concerns or
  24    medical conditions that would prohibit the placement of
  25    an ankle monitor, they would not be eligible.


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    1   decompress.
    2         A.     Yeah. No, so it's -- The Border Patrol has
    3   the authority -- or their facilities are built for
    4   short-term processing.
    5         So we don't house for the Border Patrol while
    6   they're processing people.
    7         You know, they have to be charged and issued
    8   either a warrant of arrest requiring their detention or
    9   they'll have to have a final order in the terms of
  10    expedited removal, something that makes them --
  11    something that requires their -- the aliens that
  12    they're processing to be detained.
  13          At that point ICE will accept custody of that
  14    alien at that point.
  15          We don't -- We don't hold unprocessed or aliens
  16    that have not been issued a notice to appear or warrant
  17    of arrest or final order of removal from the Border
  18    Patrol.
  19          And Border Patrol stations -- don't want to speak
  20    for them -- but typically their stations are built for
  21    short-term holds, so it's not -- It's not for long
  22    terms.
  23          And when I say we -- we keep -- we support them in
  24    their decompression efforts, I mean, we keep enough
  25    beds at our facilities along the southwest border to


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    1   support those arrests because we're seeing that the
    2   arrests from the southwest border can fluctuate; so we
    3   want to make sure and keep that capacity available for
    4   the Border Patrol to use within a close distance of the
    5   border.
    6         Q.     So how many detention facilities does ICE
    7   operate along the southwest border?
    8         A.     I'm sorry. I don't recall that number.
    9         Q.     Like --
  10          A.     I can tell -- I don't know an approximate.
  11          What I can say is that a majority of our bed space
  12    is located along the southwest border. There's -- That
  13    would be the majority of it.
  14          Q.     Okay. So a majority of your entire detention
  15    capacity throughout this vast network is located along
  16    the southwest border; did I get that correct?
  17          A.     Yes, that's my understanding. I don't have
  18    the specific numbers. But we have a large capacity to
  19    hold along the southwest border.
  20          Q.     How many detention facilities does ICE
  21    operate, not through vendors, but independently operate
  22    yourselves?
  23          A.     I don't recall. The Port Isabel Service
  24    Processing Center, the -- There's a facility in
  25    Phoenix, which is the Florence Service Processing


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    1   there's -- that's -- Let me give you some -- a little
    2   background on that.
    3         So as I described earlier, there's challenges to
    4   keeping every bed filled, that's especially in -- you
    5   know, in certain states where we have litigation that
    6   prevents us from utilizing all of our beds, as well as
    7   trying to prevent the transmission of COVID and trying
    8   to keep a six-foot distance between people.
    9         And it all depends also on the location of SPC.
   10   For example, if we have a location that has a high
   11   COVID transmission rate in a community, we typically
   12   can't utilize every single one of our beds, as well as,
   13   you know, we can't mix male and female either.
   14         So although we may have a pod of 50, a pod is a
   15   housing unit within a jail.
   16         We may have 50 beds in a pod.             And if there are
   17   two females in there, we -- Those are -- The 48 beds
   18   are offline, unless we have another female arrest that
   19   we can put in there.
   20         So it's not -- It's not as easy as saying that we
   21   can utilize all our bed capacity. We do our best to
   22   utilize what we can.
   23         But, you know, some of the -- Some of the
   24   challenges I just described prevent us from using every
   25   single bed in our detention inventory.


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    1         Q.     Does ICE provide that information when they
    2   release people from detention?
    3         A.     So depending on what -- if people are released
    4   on alternatives to detention, alternatives to detention
    5   to program, the contractor does have what's called wrap
    6   around services where that includes classes, that
    7   includes getting them in touch with nongovernmental
    8   organizations in the community, things of that nature,
    9   more so getting them acclimated to American culture and
   10   those type of resources that are available to them.
   11         Q.     Do they get them in touch with any
   12   governmental resources?
   13         A.     It's possible, but I don't know the answer to
   14   that.
   15         Q.     Okay. So -- So when an ankle monitor is
   16   placed on somebody, is that -- does that require Wi-Fi
   17   connection?
   18         A.     I don't think so, but I'm not certain.
   19         I think the GPS ankle monitors is strictly GPS; it
   20   relies on GPS for tracking.
   21         Q.     Does it require connectivity?
   22         A.     I don't know the answer to that question.
   23         Q.     All right. I want to show you Exhibit 6.
   24                (Exhibit No. 6 was marked.)
   25   BY MS. BRODEEN:


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    1   final stage of all staffing, I believe?
    2         A.     We were -- We allowed the field offices to go
    3   to 100 percent staffing because of -- We were in the
    4   phase three of the reconstitution plan for ICE.
    5         Q.     What's "the reconstitution plan for ICE"?
    6         A.     So it was -- The reconstitution plan was our
    7   operating instructions while we were under the
    8   pandemic.
    9         And it guided our field offices at what levels and
   10   what guideposts to use to determine how many people
   11   needed -- how many employees would be at our -- at each
   12   of our offices nationwide.
   13         Q.     And who -- Whose plan was that? Who came up
   14   with that plan?
   15         A.     That was ICE director.
   16         Q.     And at this time are your ICE offices
   17   operating with any COVID protocols such as spacing?
   18         A.     It depends. It depends on the community-
   19   transmission levels near -- near that office.
   20         We look at the CDC guidance for that particular
   21   county.
   22         And that reconstitution plans provides the field
   23   office directors with some guideposts to use as to when
   24   to have 50 percent staffing, when to have 75 percent
   25   staffing or 100 percent staffing based on community-


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    1         Q.     Okay.
    2         A.     -- typically.
    3         Q.     And during what period of time were those
    4   hotels under contract to house family units by ICE?
    5         A.     May 2021 to -- I'm sorry. March of 2021 to
    6 March of 2022.
    7         Q.     Okay. And what happened in March of 2022 that
    8   caused them to no longer be used by family units?
    9         A.     So ICE determined that we were experiencing a
   10   large number of adults crossing the southwest border,
   11   and we needed additional adult beds; and also we
   12   determined that ATD was a better alternative for family
   13   units. It was in -- When we released the family on
   14   alternatives to detention, it's more humane. It's a
   15   more humane system -- effort in order to track those
   16   cases through the system.
   17         What we found with our family residential
   18   standards were also impacted by litigation that doesn't
   19   allow us to detain families more than 20 days.
   20         So we made the decision -- As we always are
   21   looking at our detention inventory to see how best to
   22   support the U.S. Border Patrol in their bed space
   23   needs, we made the decision that since more single
   24   adults were crossing the southwest border, we made
   25   those -- We converted the family residential centers to


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    1   adult beds as opposed to family beds based on the need
    2   on the southwest border.
    3         Q.     And what about the hotels, were individual
    4   adults housed in hotels after March --
    5         A.     No.
    6         Q.     -- 2022?
    7         A.     No. No, they weren't.
    8         Q.     Was that contract just dropped with the hotels
    9   after March 2022, no need for the space?
   10         A.     I don't know the status to the contract.
   11         Q.     Okay.
   12         A.     We don't use the hotels as of March 2022.
   13         Q.     Okay. So would you say that ATD was more
   14   humane, something like that; did you say something
   15   about --
   16         A.     So we've seen a high success rate with our
   17   alternatives to detention program. A high percentage
   18   remain compliant with the program. We see a very high
   19   rate of court appearances within the program. And that
   20   particular population, as vulnerable as they are, as
   21   family units crossing with small children, we made the
   22   decision -- ICE made the decision that alternatives to
   23   detention was our best option for that particular
   24   subset of detainee.
   25         Q.     Okay. And then when those people were


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    1   released, those family units were released under Parole
    2   Plus ATD, do you know what kind of conditions they were
    3   released into where they lived, if there were
    4   improvements to what you provided previously?
    5         A.     I don't know the answer to that question. Can
    6   you rephrase it?
    7         Q.     Okay. So do you have any information that
    8   after you released family units under Parole Plus ATD,
    9   they were released into better conditions than what you
   10   provided at hotels, Dilley, Karnes or Burke?
   11         A.     No, I don't; I don't have any information on
   12   that.
   13         Q.     Which -- Have you ever been to these hotels
   14   that were under contract for housing family units?
   15         A.     No.
   16         Q.     Did you get any reports that there were
   17   inhumane conditions at those hotels?
   18         A.     I don't recall any of that.
   19         Q.     Okay. What about Dilley, Karnes and Burke,
   20   were they inhumane conditions that you operated?
   21         A.     Yes.
   22         Q.     What was inhumane about those -- the
   23   operation?
   24         A.     Oh, just -- I strike my -- I thought you said
   25   the other question. I thought you said were they


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    1   residential standards are -- are based on a civil
    2   detention model, and we take the Flores agreement
    3   into -- And we factor those into our family residential
    4   standards.
    5         As I stated previously, it's -- The Flores
    6   litigation does not allow us to detain families beyond
    7   20 days.
    8         Q.     Is it possible for ICE to create new detention
    9   centers that comply with the Flores consent decree?
   10                MR. DARROW: Objection again; beyond the scope
   11   of this topic.
   12                MS. BRODEEN: Okay.
   13                MR. DARROW: If you know.
   14   BY MS. BRODEEN:
   15         Q.     Is it possible that ICE could create new
   16   detention centers that comply with the Flores consent
   17   decree?
   18         A.     I don't know that answer. I know that our
   19   authorization for funding of new facilities would be
   20   based by congressional appropriation.
   21         I'm sorry, I don't know the answer to that.
   22         Q.     And did you ever express concerns about
   23   closing any of these family-unit facilities?
   24                MR. DARROW: Objection. You're talking to the
   25   witness now as a 30(b)(6) witness. If you have


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    1   could be a chance it increases the number of
    2   operational beds. But not knowing the context, whether
    3   this -- was this happening during COVID, were there --
    4   what state was this occurring in because if this is
    5   happening in California, it doesn't matter their book-
    6   ins are reduced by 50 percent, we're not using those
    7   beds. Those beds are going to be offline because of
    8   litigation in that particular state.
    9   BY MS. BRODEEN:
   10         Q.     Okay. And this email is dated January 27,
   11   2021; that's during the pandemic, correct?
   12         A.     Correct.
   13         Q.     Now, you mentioned Fraihat; what is that?
   14         A.     So it's spelled F-R-A-I-H-A-T, Fraihat; and
   15   it's a -- So I'm an operator. I'm not an attorney.
   16         But it is one of the decisions out in California
   17   that severely restricts how many beds that we use
   18   operationally because it requires us to conduct a case-
   19   by-case review and assessment of each detainee, their
   20   risk factors for COVID versus their threats to the
   21   community. And the judge in that particular -- I think
   22   that's all I can say about that. I don't want to
   23   misspeak. I don't know the case that well. But I do
   24   know operationally it takes a lot of our beds offline.
   25         Q.     It takes -- That case takes beds offline


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    1   of counsel.
    2         Q.     Okay. And to the best of your knowledge, is
    3   this an exhaustive list of the authority that's
    4   requested in this interrogatory or is there anything
    5   else possibly?
    6         A.     No, I think this is exhaustive.
    7         Q.     Okay. And there's a reference here in your
    8   answer to CFR section 212.5 for paroled cases.
    9         Is this what we referred to earlier as INA 212 or
   10   is this a regulation that implements 212 that we talked
   11   about earlier?
   12         A.     I can't answer.
   13         Q.     If you don't know, that's okay.
   14         A.     I don't know.
   15         Q.     Okay. What is a parole case that's referenced
   16   in this section?
   17         A.     Those are paroles under 212D, D5 of the INA.
   18         Q.     INA you said?
   19         A.     Yes.
   20         Q.     Okay. Let's look at Interrogatory No. 3,
   21   please explain whether DHS believes it has authority or
   22   discretion to release applicants for admission pursuant
   23   to 8 U.S.C. section 1226 if DHS decides to place an
   24   alien in standard removal of proceedings rather than
   25   expedited removal of proceedings; and then you gave a


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    1   response. Did you have assistance in answering this?
    2         A.     Utilized of my counsel.
    3         Q.     Okay. And Interrogatory No. 4, if DHS
    4   believes it has authority or discretion to release
    5   applicants for admission pursuant to 8 U.S.C. section
    6   1226, please explain what criteria DHS uses to
    7   determine when to do so, comma, as opposed to detain
    8   the alien as required by 8 U.S.C. section 1225. You
    9   give a response here. Did anybody assist you with
   10   this?
   11         A.     I coordinated with my -- I sought the advice
   12   of my counsel.
   13         Q.     Okay. And interrogatory -- Interrogatory
   14   No. 5, last one, if DHS believes it has authority or
   15   discretion to release applicants for admission pursuant
   16   to 8 U.S.C. section 1226, please explain whether DHS's
   17   initial arrest in those cases are made pursuant to an
   18   immigration warrant, period.
   19         You gave a response here that refers to some
   20   statutes. Did anybody assist you with this response?
   21         A.     I coordinated my responses with my counsel.
   22                MS. BRODEEN: Can I just take a couple minutes
   23   to go through my notes? This is a good thing, by the
   24   way.
   25                MR. DARROW: Sure.


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    1         A.     So there's a -- There's a few things. So if
    2   they're -- A lot of the check-ins, typically a person
    3   checks into ICE, they're issued the charging document
    4   for these NTR and these Parole Plus ATD cases.
    5         As I mentioned previously, some individuals do
    6   arrive in line without an appointment. Those
    7   individuals are told to go back home and schedule
    8   themselves online. Excuse me.
    9         Q.     Okay. So -- Go ahead. Keep going. I'm
   10   sorry.
   11         A.     No, I was gonna just mention that they're told
   12   to go back home and schedule themselves online for an
   13   appointment that makes sense to them, you know, working
   14   around their schedules. They can -- It's a self-
   15   service type website. So it's not fair to say, you
   16   know, just because they didn't check-in, ICE has to
   17   take an action. They -- They may have checked in, but
   18   they're within the time frame to actually check-in.
   19         Q.     What happens if they don't check-in at all?
   20         A.     Again, in this -- In this scenario, just to
   21   add some more context, can you describe who ordered the
   22   check-in or did they themselves or --
   23         Q.     Okay. So under the Parole Plus ATD policy, if
   24   somebody's who released but told to check-in to ICE and
   25   they fail to check-in to ICE at all, what happens to


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    1   that family unit or the head of household?
    2         A.     So I can tell you that we -- knowing that
    3   during the time period, especially during COVID and
    4   when we were closed, we had quite a bit of people that
    5   couldn't check-in; so what we ended up doing was
    6   issuing their notice to appear via certified mail to
    7   get them in immigration proceedings. And, furthermore,
    8   we placed -- If they were family units and they were
    9   eligible, if they lived in 11 cities that were
   10   considered -- that were cities under our program called
   11   dedicated docket, we placed those families on the
   12   dedicated docket.
   13         The dedicated docket means that they would get
   14   expedited hearings. We would get an immigration
   15   hearing done more quickly on a faster track than we
   16   would in a regular non-docket.
   17         Q.     Okay. And what percentage of those mailings
   18   that were sent by certified mail were returned?
   19         A.     So I don't have the data in front of me, but
   20   less than five percent of the -- of the individuals
   21   that we issued NTAs for have invalid addresses.
   22         Q.     Okay. So you said individuals, what about
   23   family units?
   24         A.     Yes, that's head of households.
   25         Q.     Head of households, so -- And do you track


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